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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION

EDWARD BRAGGS, et al.                    )
                                         )
            Plaintiffs,                  )
                                         )
v.                                       )      CIVIL ACTION NO.
                                         )      2:14-cv-00601-MHT-JTA
JOHN Q. HAMM, in his official            )      Judge Myron H. Thompson
capacity as Commissioner of the          )
Alabama Department of Corrections,       )
et al.                                   )
                                         )
            Defendants.                  )

         PLAINTIFFS’ PROPOSAL ON REVISING THE WEEKLY
              SMI IN RESTRICTIVE HOUSING REPORTS
       Pursuant to this Court’s April 20, 2022, Order (Doc. 3557), Plaintiffs submit

 their “proposal on how to proceed on the issue of revising the [weekly SMI] reports.”

       This Court’s Omnibus Remedial Order (Doc. 3464) outlines the following

 restrictions and requirements for placing a prisoner with a serious mental illness

 (SMI) in a restrictive housing unit (RHU):

            3.1.1. Inmates with serious mental illnesses may not be placed in
      the RHUs unless a documented exceptional circumstance applies.

                   3.1.1.1.     An “exceptional circumstance” exists where:
            (a) a safety or security issue prevents placement of the inmate in
            alternative housing (such as a SU, RTU, or SLU); or (b) a non-
            safety or non-security exists and transfer or transportation to
            alternative housing is temporarily unavailable. Examples of safety
            and security issues include an inmate’s known or unknown
            enemies in alternative housing or the inmate’s creation of a

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            dangerous environment (to the inmate, other inmates, and/or staff)
            by his or her presence in alternative housing.

            3.1.2. An inmate1 placed in a RHU for safety or security issues for
      72 hours or longer will be offered at least three hours of out-of-cell time
      per day (which may be congregate out-of-cell time) while he or she
      remains in the RHU.

             3.1.3. An inmate placed in a RHU for non-safety or non-security
      issues must be removed from the RHU within 72 hours.

             3.1.4. Every week, ADOC must file with the court and the
      monitoring team reports on each prisoner who has been in restrictive
      housing for longer than 72 hours under exceptional circumstances during
      that week. These reports must indicate the amount of out-of-cell time
      offered to the prisoner each day, the nature of the out-of-cell time (i.e.,
      exercise, group therapy, etc.), the exceptional circumstance justifying the
      prisoner’s continued segregation placement, and the date by which
      ADOC expects that exceptional circumstance to be resolved.

Doc. 3464, at 8–10.

      Plaintiffs propose that Defendants immediately alter the Weekly Report of SMI

Inmates in Restrictive Housing (Weekly SMI Report) so that it addresses the

requirements outlined in Section 3.1.4 of the Omnibus Remedial Order. Plaintiffs

further propose that after the EMT begins monitoring ADOC’s compliance with the

Omnibus Remedial Order, the EMT be permitted to suggest other changes to the

Weekly SMI Report so that report will provide information that may be useful for the



1
 This Court clarified in its Opinion and Order on Stay Motion that this “requirement
applies only to inmates who have been placed in restrictive housing under
“exceptional circumstances,” and does not apply to all prisoners in restrictive
housing—“only inmates with serious mental illnesses and inmates who are
contraindicated for placement in restrictive housing.” Doc. 3526 at 61-62.
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monitoring process.

      Plaintiffs also propose that Defendants file the Weekly SMI Report closer in

time to when ADOC collects the information contained in the report than is

Defendants’ current practice. Currently, each report is filed at a one-week delay: for

example, the weekly report filed under seal with this Court on May 31, 2022 (Doc.

3619), reflected the prisoners with SMIs who were in an RHU on May 24, 2022.

Because the Court’s Omnibus Remedial Order has several requirements ADOC must

implement after a prisoner with an SMI has been in an RHU for 72 hours, such an

ongoing one-week delay in reporting will not allow the Court, Plaintiffs, or the EMT

to timely assess ADOC’s compliance with the Omnibus Remedial Order’s

requirements.

      In addition to timely receipt of information, the one-week delay and method of

data collection used by Defendants in their current reporting practices have illustrated

gaps of information. Currently, ADOC uses a snapshot of prisoners in restrictive

housing on a given day as the starting point of data collection. For instance, May 31,

2022, report only includes prisoners in RHU on May 24, 2022. Similarly, the June 7,

2022, report will only include prisoners in RHU on May 31, 2022. Any prisoners with

SMIs who enter and leave the RHU between the time the report was run on May 24,

2022, and the time the report was run on May 31, 2022, will not be captured on the

June 7, 2022, report. As such, the Court should require ADOC to produce reports in a

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way that capture all prisoners with an SMI (or otherwise contraindicated) who stayed

in RHU for more than 72 hours, regardless of whether they were in RHU at the time

of the snapshot.

       Additional current reporting practices incorporate updates that occur between

the snapshot date and the date the report is filed. For instance, if a prisoner was in an

RHU on the date ADOC provided the information in the report but left the RHU before

Defendants filed the report, Defendants report that the prisoner was "transferred"; they

do not report why the prisoner's transfer out of the RHU was delayed. See, e.g., Doc.

3619. ADOC should be required to justify a prisoner’s continued placement in an

RHU, regardless of whether the prisoner remains in an RHU when the report is

provided to the Court.

       For these reasons, Plaintiffs request this Court order Defendants to file the

Weekly SMI Report no later than two days after ADOC has collected the information

contained in the report. This report should include all prisoners with an SMI (or who

are otherwise contraindicated for placement in an RHU) who have been in restrictive

housing for longer than 72 hours under exceptional circumstances. It should also

include an explanation of the exceptional circumstances justifying a prisoner's

continued placement in RHU, even if the prisoner left the RHU before Defendants filed

the report.

       Finally, Plaintiffs propose that Weekly SMI Report should be filed in a chart

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that contains all the following information:

          •   Prisoner Name
          •   Prisoner AIS #
          •   Date and Time Prisoner Entered the RHU
          •   Facility Assignment
          •   Bed Assignment
          •   Prisoner’s Relevant Status (SMI or other contraindication; if other
              contraindication, describe)
          •   Exceptional Circumstance (describe)
          •   Placed in RHU for a safety or issue? (Yes or No)
          •   Number of hours of out-of-cell time provided (listed by day, after 72
              hours from entry into RHU)
          •   Type of out-of-cell time provided (listed by day; e.g., exercise, group
              therapy)
          •   Date exceptional circumstance expected to resolve (if prisoner is still in
              RHU)
          •   Date removed from RHU (if prisoner is no longer in RHU)
          •   Remains in RHU at the time of filing? (Yes or No)


  Dated: June 1, 2022                      Respectfully Submitted,

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                               CERTIFICATE OF SERVICE
I hereby certify that I have on this 1st day of June, 2022 electronically filed the foregoing
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